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                 EXHIBIT 2
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Privacy and Mobile Device Apps
  cisa.gov/news-events/news/privacy-and-mobile-device-apps


Blog

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What are the risks associated with mobile device apps?
Applications (apps) on your smartphone or other mobile devices can be convenient tools to
access the news, get directions, pick up a ride share, or play games. But these tools can
also put your privacy at risk. When you download an app, it may ask for permission to
access personal information—such as email contacts, calendar inputs, call logs, and location
data—from your device. Apps may gather this information for legitimate purposes—for
example, a ride-share app will need your location data in order to pick you up. However, you
should be aware that app developers will have access to this information and may share it
with third parties, such as companies who develop targeted ads based on your location and
interests.

How can you avoid malicious apps and limit the information apps
collect about you?

Before installing an app

       Avoid potentially harmful apps (PHAs). Reduce the risk of downloading PHAs by
       limiting your download sources to official app stores, such as your device's
       manufacturer or operating system app store. Do not download from unknown sources
       or install untrusted enterprise certificates. Additionally—because malicious apps have
       been known to slip through the security of even reputable app stores—always read the
       reviews and research the developer before downloading and installing an app.
       Be savvy with your apps. Before downloading an app, make sure you understand
       what information the app will access. Read the permissions the app is requesting and
       determine whether the data it is asking to access is related to the purpose of the app.
       Read the app's privacy policy to see if, or how, your data will be shared. Consider
       foregoing the app if the policy is vague regarding with whom it shares your data or if
       the permissions request seems excessive.

On already installed apps


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    Review app permissions. Review the permissions each app has. Ensure your
    installed apps only have access to the information they need, and remove unnecessary
    permissions from each app. Consider removing apps with excessive permissions. Pay
    special attention to apps that have access to your contact list, camera, storage,
    location, and microphone.
    Limit location permissions. Some apps have access to the mobile device's location
    services and thus have access to the user's approximate physical location. For apps
    that require access to location data to function, consider limiting this access to when
    the app is in use only.
    Keep app software up to date. Apps with out-of-date software may be at risk of
    exploitation of known vulnerabilities. Protect your mobile device from malware by
    installing app updates as they are released.
    Delete apps you do not need. To avoid unnecessary data collection, uninstall apps
    you no longer use.
    Be cautious with signing into apps with social network accounts. Some apps are
    integrated with social network sites—in these cases, the app can collect information
    from your social network account and vice versa. Ensure you are comfortable with this
    type of information sharing before you sign into an app via your social network account.
    Alternatively, use your email address and a unique password to sign in.


What additional steps can you take to secure data on your mobile
devices?
    Protect your device from theft. Having physical access to a device makes it easier
    for an attacker to extract or corrupt information. Do not leave your device unattended in
    public or in easily accessible areas.
    Protect your data if your device is stolen. Ensure your device requires a password
    or biometric identifier to access it, so if is stolen, thieves will have limited access to its
    data. (See Choosing and Protecting Passwords.) If your device is stolen, immediately
    contact your service provider to protect your data. (See the Federal Communications
    Commission's Consumer Guide: Protect Your Smart Device.)




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